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                                         Nos. 23-5795/6108

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT


 HONORABLE ORDER OF KENTUCKY                          )
 COLONELS, INC.,                                      )
                                                      )
         Plaintiff-Appellee,                          )
                                                      )
 v.                                                   )            ORDER
                                                      )
 KENTUCKY COLONELS                                    )
 INTERNATIONAL; GLOBCAL                               )
 INTERNATIONAL; ECOLOGY                               )
 CROSSROADS COOPERATIVE                               )
 FOUNDATION, INC.; UKNOWN                             )
 DEFENDANTS,                                          )
                                                      )
         Defendants                                   )
                                                      )
 and                                                  )
                                                      )
 DAVID J. WRIGHT, Individually and In His             )
 Capacity as President of Ecology Crossroads          )
 Cooperative Foundation, Inc.                         )
                                                      )
         Defendant-Appellant.                         )


        In Case No. 23-5795, the defendant-appellant appeals the district court’s order holding the

defendants in contempt and ordering them to pay compensatory sanctions. In Case No. 23-6108,

the defendant appeals the district court’s order granting in part the plaintiff’s motion for attorneys’

fees. In Case No. 23-5795, the defendant moves to be addressed as a Kentucky Colonel, for leave

to file a brief of up to 50 pages or 17,000 words, for an extension of time to file his principal brief,

for the appointment of pro bono counsel, and for leave to receive documents electronically through

CM/ECF. The plaintiff responds in opposition. Via separate motion, the defendant also moves to

consolidate the appeals for purposes of briefing and submission, for an extension of time in which
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to file his principal brief, for the appointment of a special master, and for the suspension of the

Federal Rules of Appellate Procedure. The plaintiff again responds, supporting consolidation and

opposing the remainder of the relief sought.

       Upon review, it is ORDERED as follows:

   •   The defendant’s motions to compel title recognition is DENIED;

   •   Oversized briefs are seldom permitted. 6 Cir. I.O.P. 28(a). The defendant’s motion for

       leave to file an oversized brief is DENIED;

   •   The defendant’s motion to find the plaintiff in default is DENIED as moot. No response

       is required to the notice of appeal;

   •   The defendant’s motion for an extension of time to file his brief is GRANTED, and

       briefing will be reset by separate letter;

   •   There being no right to counsel in these appeals, the defendant’s request for pro bono

       counsel is REFERRED to the ultimate merits panel for consideration along with the

       appellate briefs. The defendant is directed to file a pro se brief to the best of his ability;

   •   The defendant’s request to receive service of documents by email is DENIED. Parties not

       represented by counsel must receive service by non-electronic means.                 6 Cir. R.

       25(f)(1)(B);

   •   The defendant’s motion to consolidate Case Nos. 23-5795 and 23-6108 for the purpose of

       briefing and submission is GRANTED;

   •   The defendant’s request for appointment of a special master and suspension of rules is

       REFERRED to the ultimate merits panel for consideration along with the appellate briefs;

       and
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                                   •   The plaintiff’s request to dismiss No. 23-5795 is DENIED without prejudice, subject to

                                       renewal if and when appropriate.

                                                                          ENTERED PURSUANT TO RULE 45(a)
                                                                          RULES OF THE SIXTH CIRCUIT




                                                                          Kelly L. Stephens, Clerk




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